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         ORDERED in the Southern District of Florida on March 30, 2021.



                                                              Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court



                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       FT LAUDERDALE DIVISION
                                           www.flsb.uscourts.gov

         In Re:

          TROY GARY TURKIN                                   CHAPTER      7
                                                             CASE NO.     19-27263-SMG

         Debtor.
         ___________________________/

           AGREED ORDER GRANTING AMERICAN HONDA FINANCE CORPORATION’S
                     MOTION FOR RELIEF FROM AUTOMATIC STAY

                  THIS CAUSE came on for consideration of American Honda Finance Corporation’s
         Motion for Relief from Automatic Stay [D.E. # 78]. The Court has been informed that counsel
         for Movant and counsel for Debtor have conferred and agree to the entry of an order containing
         the following terms. Accordingly, it is,
                  ORDERED:
                  1.    That the Motion of American Honda Finance Corporation is GRANTED.
                  2.    The automatic stay imposed by §362(a) of the Bankruptcy Code is modified to
         permit American Honda Finance Corporation to replevy or repossess the vehicle more
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particularly described as 2019 Acura RDX, VIN 5J8TC1H65KL003918.
       3.      That this Order terminating automatic stay is entered for the sole purpose of
allowing Movant to obtain the property or an in rem judgment against the property and that
Movant shall not seek or obtain in personam relief against the Debtor.
       4.       That the provisions of Rule 4001(a)(3) of the Federal Rules of Bankruptcy
Procedure are hereby waived.


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Submitted by:
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Attorney Bertis A. Echols, III is required to serve a copy of this Order upon all interested parties
under all applicable Bankruptcy and local rules and file a confirming certificate of service.



Copies furnished to:
Debtor, Troy Gary Turkin, 5362 Northwest 117th Avenue, Coral Springs, FL 33067
Attorney for Debtor, Matthew Mazur, Jr., Esquire, 2645 Executive Park Drive, Suite 110,
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